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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No.: 19-cv-20277-SINGHAL/McAliley

  MELISSA COMPERE, on behalf of herself and
  others similarly situated,

         Plaintiff,

  v.

  NUSRET MIAMI, LLC d/b/a Nusr-et
  Steakhouse, a Florida limited liability company,
  and NUSRET GOKCE, an individual,

       Defendants.
  _____________________________________/

            ORDER ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         THIS CAUSE is before the Court on Defendants’ Motion for Summary Judgment

  or Alternatively to Decertify the Class (DE [172]). This is a collective action under the Fair

  Labor Standards Act (FLSA), see 29 U.S.C. § 201, against Defendant Nusret Miami, LLC

  (“Steakhouse”) and Defendant Nusret Gokce (collectively, “Defendants”). The Court has

  conditionally certified the class. See 391 F. Supp. 3d 1197 (S.D. Fla. 2019). Lead plaintiff

  Melissa Compere and the conditional class allege the Steakhouse forced the front-of-

  house tipped employees to participate in a tip pool or tip-share with non-tipped

  employees, and that the Steakhouse paid below the federal minimum and overtime wage

  for tipped employees.

         The Court has reviewed the following: Defendants’ Statement of Undisputed

  Material Facts in Support of its Motion for Summary Judgment (“SUMF”) (DE [173]),

  Plaintiff’s Response to Defendants’ Statement of Undisputed Material Facts and Plaintiffs’

  Statement of Undisputed Material Facts (“RSUMF”) (DE [181]), Plaintiff’s Response in
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  Opposition to Defendants’ Motion for Summary Judgment, or Alternatively to Decertify

  Class, and Request for Independent Judgment Pursuant to Rule 56(f) (DE [182]), and

  Defendants’ Reply in Support of their Motion for Summary Judgment or, in the Alternative,

  to Decertify Class (DE [193]). Based on the foregoing, the Court is fully advised in the

  premises. For the following reasons, the motion for summary judgment (DE [172]) is

  GRANTED.

  I.     LEGAL STANDARD ON A MOTION FOR SUMMARY JUDGMENT

         Summary judgment is appropriate “if the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

  Fed. R. Civ. P. 56(a). “A district court must grant a motion for summary judgment only if

  the pleadings, depositions, answers to interrogatories, and admissions on file, together

  with the affidavits, if any, show that there is no genuine issue as to any material fact and

  that the moving party is entitled to a judgment as a matter of law.” Essex Ins. Co. v.

  Barrett Moving & Storage, Inc., 885 F.3d 1292, 1299 (11th Cir. 2018). An issue is

  “genuine” if a reasonable trier of fact, viewing all of the record evidence, could rationally

  find in favor of the nonmoving party in light of his burden of proof. Harrison v. Culliver,

  746 F.3d 1288, 1298 (11th Cir. 2014). And a fact is “material” if, “under the applicable

  substantive law, it might affect the outcome of the case.” Hickson Corp. v. N. Crossarm

  Co., 357 F.3d 1256, 1259–60 (11th Cir. 2004). “[W]here the material facts are undisputed

  and do not support a reasonable inference in favor of the non-movant, summary judgment

  may properly be granted as a matter of law.” DA Realty Holdings, LLC v. Tenn. Land

  Consultants, 631 F. App’x 817, 820 (11th Cir. 2015).
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  II.    UNDISPUTED FACTS

         A.     The Steakhouse’s 18% Service Charge

         The Steakhouse is an upscale restaurant in Miami, Florida, catering to guests from

  all over the world. SUMF ¶ 1 (DE [173]). The Steakhouse has always included an

  automatic service charge (“Service Charge”) equal to 18% of the total sale price on the

  guest bill. Id. ¶ 5. The parties quibble over the nature of the Service Charge; Defendants

  describe it as “a mandatory 18% service charge,” while Plaintiff insists that it is

  “discretionary,” not “mandatory.” Id.; RSUMF ¶ 5 (DE [181]). Regardless of whether the

  Service Charge is “mandatory” or “discretionary,” it is undisputed from the record that it is

  automatically charged to the guest bill and the 18% cannot be negotiated by the customer.

  SUMF ¶ 5–7. It is further undisputed from the record that the menu at the Steakhouse

  specifically informed restaurant patrons of the Service Charge. Id. ¶ 6. The following

  statement appears at the bottom of each menu:

         For your convenience a 18% service charge will be added to your final bill
         and will be distributed to the entire team.

  See Ex. A (DE [173-1]).

         After the guest’s credit card has been run, the final receipt contains a separate,

  blank line where the guest may include a discretionary gratuity for their server, exclusive

  of the Service Charge. SUMF ¶ 9. Alternatively, guests are able to leave cash tips at

  their discretion. Id. The amounts collected from the Service Charge and the additional

  customer-added gratuity, are distributed in their entirety to service employees (e.g., non-

  managerial personnel) on a pro-rata basis, less 2.65% to cover any credit-card

  processing fees. Id. ¶¶ 10–12.
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         B.     The Steakhouse’s Payment Structure

         The Steakhouse compensated members of the Class at an hourly rate plus a

  portion of the Service Charge on a biweekly basis. Id. ¶ 13. Members of the Class were

  also entitled to any gratuity the customer voluntarily paid above the Service Charge. Id.

  ¶ 14. The Service Charge and the discretionary gratuity were pooled and distributed to

  members of the Class utilizing a point system methodology. Id. ¶ 15. The regular rate of

  pay for members of the Class who worked prior to April 30, 2018, was calculated by

  dividing their total remuneration for each workweek by the total number of hours each of

  them worked that week. Id. At no point during the relevant period did Lead Plaintiff make

  under the federal minimum wage of $7.25. Id. ¶ 40; see also attached screenshot from

  SUMF.




  III.   ANALYSIS

         To begin, the facts as presented by the parties regarding collection, pooling and

  distribution of service charge and tip monies are confusing, but do not create a genuine

  issue of material fact because there is agreement on perhaps the most critical point in

  this case. That is: Plaintiff was paid more than one and one-half times minimum wage at

  all times relevant here. And, the central question in this case is rather simple: What was

  the Lead Plaintiff’s “regular rate of pay?” An employee’s “regular rate” is “the hourly rate
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  actually paid [to] the employee for the normal, non-overtime workweek for which he is

  employed” and “by its very nature must reflect all payments which the parties have agreed

  shall be received regularly during the workweek, exclusive of overtime payments.” 29

  C.F.R. § 779.419(b). It is calculated by dividing the total compensation received by the

  total number of hours worked. Id. § 778.118. It is axiomatic that, for decades, courts

  have held that the regular rate of pay is not static; “[i]t may be subject to fluctuation

  because of different component factors such as . . . size of dividends upon which they

  may be dependent or upon profits which are variable factors.” Walling v. Wall Wire Prod.

  Co., 161 F.2d 470, 475 (6th Cir. 1947).

         A.     Minimum Wage Claim

         The federal minimum wage is $7.25. See 29 U.S.C. § 206(a)(1)(C). Based on

  Lead Plaintiff’s own testimony, Defendants paid her up to $12.69 at all relevant times.

  SUMF ¶ 38. She does not dispute this. RSUMF ¶¶ 38–40. In other words, Lead Plaintiff

  does not dispute that she made over $7.25. Id.

         Lead Plaintiff’s only response to this undisputed fact fatal to her claims is that

  “Defendants did not pay any wages to Plaintiffs and instead merely gave Plaintiffs failed

  ‘service charges’ and tips from customers. Because the ‘service charges’ were not

  included in the gross receipts, they were tips. This is a legal conclusion which is fully

  supported by Plaintiffs’ Response to the Motion for Summary Judgment.” Id. (emphasis

  added). The Court finds this argument erroneous as a matter of law and untenable as a

  matter of fact.

         The crux of this issue reverts back to the argument over semantics: whether the

  Service Charge was “mandatory” or “discretionary.” But Lead Plaintiff misapprehends
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  why, in this case, it is of no consequence. She argues that, because managers could,

  from time to time, decide not to charge the Service Charge to a particular table of patrons,

  the Service Charge is a “tip.” This is simply incorrect as a matter of law.

         Under its rule-making authority, the U.S. Department of Labor (“DOL”) defines

  “tips” as such:

         [A] sum presented by a customer as a gift or gratuity in recognition of some
         service performed for him. It is to be distinguished from payment of a
         charge, if any, made for the service. Whether a tip is to be given, and its
         amount, are matters determined solely by the customer, and generally he
         has the right to determine who shall be the recipient of his gratuity . . . Only
         tips actually received by an employee as money belonging to him which he
         may use as he chooses free of any control by the employer, may be counted
         in determining whether he is a “tipped employee” within the meaning of the
         [FLSA] . . . .

  29 C.F.R. § 531.52.1 Here, the patrons of the Steakhouse did not pay the Service Charge

  directly to Lead Plaintiff or any members of the class, nor did the patrons have a right to

  dictate who was going to receive a Service Charge. Though out-of-circuit, one court has

  succinctly observed that an “essential element” of a tip is its voluntary nature, directed to

  a specific employee designated by the patron. See United States v. Conforte, 624 F.2d

  869, 874 (9th Cir. 1980). Again, whether a manager at the Steakhouse may choose not

  to charge it to a particular patron does not render it “discretionary” for purposes of 29

  C.F.R. § 531.32. Without case law to the contrary—which Lead Plaintiff has not so

  provided—the Court cannot read such a determinization into the DOL regulation.




  1
    The Court recognizes the validity of this regulation has been questioned for other
  reasons. See Marlow v. New Food Guy, Inc., 861 F.3d 1157, 1162 (10th Cir. 2017).
  However, the definition of “tip” as defined in the regulation remains.
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         B.     Overtime Wage Claims

         The overtime provision of the FLSA requires an employer to pay its employees not

  less than one-and-one-half times the rate of their regular pay for any hours exceeding

  forty in a workweek. See 29 U.S.C. § 207(a)(1). However, Congress provided several

  statutory exemptions for employers, which the Supreme Court has instructed courts to

  give “a fair (rather than a ‘narrow’) interpretation.” Encino Motorcars, LLC v. Navarro, 138

  S. Ct. 1134, 1142 (2018). The exemption provided for in § 207(i) provides:

                 No employer shall be deemed to have violated subsection (a) by
         employing any employee of a retail or service establishment for a workweek
         in excess of the applicable workweek specified therein, if (1) the regular rate
         of pay of such employee is in excess of one and one-half times the minimum
         hourly rate applicable to him under section 206 of this title, and (2) more
         than half his compensation for a representative period (not less than one
         month) represents commissions on goods or services. In determining the
         proportion of compensation representing commissions, all earnings
         resulting from the application of a bona fide commission rate shall be
         deemed commissions on goods or services without regard to whether the
         computed commissions exceed the draw or guarantee.

  29 U.S.C. § 207(i). The Eleventh Circuit has read this exemption as favorable to the

  employee, Congress’s intent being “to ensure that workers who are paid on a commission

  basis are guaranteed to receive at least the legislated minimum wage without requiring

  them to work overtime for it.” Klinedinst v. Swift Invs., Inc., 260 F.3d 1251, 1256 (11th

  Cir. 2001).

         To prevail on summary judgment under this exemption, Defendants must show

  that: (1) Nusret is a retail or service establishment; (2) Plaintiffs’ “regular rate of pay”

  exceeds 1.5 times the applicable minimum wage, and (3) more than half of Plaintiffs’

  compensation for the applicable representative period consists of commissions on goods

  or services. See 29 U.S.C. § 207(i).
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         Lead Plaintiff’s assertion in response to the 207(i) exemption is the same as her

  response to the minimum-wage claim: that she and members of the class “received

  virtually no wages whatsoever from Defendants.” Again, the Court finds this untenable.

  And, again, the Court determines, as a matter of law, it is erroneous. The position further

  fails as a matter of fact. She argues that employers cannot satisfy its wage obligations

  merely by directing its customers to pay its employees; rather, the payments must come

  from the employer’s own accounts. Defendants actually agree with this position, and the

  undisputed evidence supports the Service Charge became part of the Steakhouse’s gross

  receipts. This is undisputed by the record evidence provided by the Steakhouse, which

  Lead Plaintiff cannot refute. See Ex. B to Defs.’ Reply (DE [192-2]).

  IV.    CONCLUSION

         For the foregoing reasons, Defendants’ Motion for Summary Judgment or

  Alternatively to Decertify the Class (DE [172]) is GRANTED to the extent that judgment

  as a matter of law is entered in their favor. The motion is DENIED AS MOOT for all other

  purposes. Pursuant to Federal Rule of Civil Procedure 58, final judgment will be entered

  by separate order from the Court.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 31st day of

  May 2020.




  Copies to counsel via CM/ECF
